Case: 4:13-cr-00184-CDP Doc. #: 2 Filed: 05/15/13 Page: 1 of 1 PagelD #: 4

UNITED STATES DISTRICT COURT FILED
EASTERN DISTRICT OF MISSOURI -
EASTERN DIVISION MAY 15 2013
UNITED STATES OF AMERICA, ) U, S, DISTRICT COURT
) EASTERN DISTRICT OF MO
Plaintiff, )
)
Vv. ) No
)
LAMAR PEARSON, )
)
Defendant. )
INDICTMENT
COUNT I
The Grand Jury charges that:
On or about January 4, 2013, in the City of St. Louis, within the Eastern District of
Missouri,

LAMAR PEARSON,
the defendant herein, did knowingly and intentionally possess with intent to distribute a quantity
of cocaine base (crack), a Schedule II controlled substance.
In violation of Title 21, United States Code, Section 841(a)(1), and punishable under Title
21, United States Code, Section 841(b)(1)(C).

A TRUE BILL.

 

FOREPERSON

RICHARD G. CALLAHAN
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Assistant United States Attorney
